






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00076-CV






John Rady, As Assignee, Appellant


v.


Wells Fargo Bank, N.A., Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY,

NO. C-1-CV-11-009407, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant John Rady's brief was initially due on June 15, 2012.  In an order dated
September 21, 2002, this Court notified Rady that the appellant's brief was due no later than
October&nbsp;22, 2012, and that his appeal would be dismissed for want of prosecution if he did not file
the brief by that date.  On October 25, 2012, Rady attempted to e-file a motion to extend time to file
brief and the appellant's brief, but this Court rejected the submission because it did not comply with
the Court's e-filing rules.  This Court notified Rady that the motion and his brief had not been filed
and the reason that they were not filed.  To date, Rady has not responded to the Court's notice and,
therefore, the appellant's brief has not been filed.

		On December 11, 2012, appellee Wells Fargo Bank, N.A., filed a motion to dismiss
for failure to prosecute.  Rady has not responded to the motion to dismiss.  We grant the motion and
dismiss the appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).



						__________________________________________

						Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Prosecution

Filed:   January 15, 2013


